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First Step Act Admission and Orientation (A&O) Addendum

The First Step Act (FSA) allows eligible inmates to receive Federal Time Credits (FTCs) for
successfully participating in approved Evidence-Based Recidivism Reduction (EBRR) Programs
and/or Productive Activities (PAs). These credits can be used toward pre-release, community-
based placement and/or toward early release to a Supervised Release Term.

What is the PATTERN Risk Assessment?

All sentenced inmates, regardless of eligibility status, will be assessed for risk of recidivism and
for their needs. The Prisoner Assessment Tool Targeting Estimated Risk and Needs
(PATTERN) is the automated recidivism risk assessment tool and part of the Bureau’s FSA-
approved Risk and Needs Assessment System. The PATTERN tool is completed during the
Initial Classification and is used to assign each incoming inmate an initial recidivism risk level of
Minimum, Low, Medium, or High. You will receive a General and Violent Risk Level and the
higher of the two is your overall Recidivism Risk Level. The resulting recidivism risk level is
not to be confused with security or custody level. Risk level is re-assessed at every regularly
scheduled program review (commonly called a team meeting) throughout your incarceration
with the BOP. Your case manager will discuss your PATTERN results during your Initial
Classification and at each team meeting throughout your incarceration.

Your case manager will also provide you a copy of your PATTERN risk assessment worksheet
at each team. The worksheet will show your current PATTERN risk scores and level for General
and Violent Recidivism Risk as well as your overall Risk Level. The worksheet will also list all
your program completions for which you are receiving credit.

In addition to the PATTERN risk assessment being reviewed during regularly scheduled team
meetings, it will also be automatically reviewed during the monthly auto-calculation of Federal
Time Credits to capture changes in risk level elements since the last team. For example, program
completions, clear conduct or sanctioned incident reports, and birthdays (age). While this new
automation will allow for changes to be credited closer to their occurrence, it will also ensure
that changes are credited for the FSA Assessment. This automation applies to all inmates
whether in the institution, pre-release placement, on writ, in-transit, etc.

What is the SPARC-13 Needs Assessment?

The Standardized Prisoner Assessment for Reduction in Criminality (SPARC-13) is the Bureau’s
needs assessment system. It is used to assess inmates in 13 need areas to focus recommended
programming to reduce the risk of recidivating. Portions of the SPARC-13 assessment require
the inmate’s active participation. Failure on the inmate’s part to complete the self-
assessment surveys timely will delay completion and negatively impact the inmate’s ability
to begin earning FTCs as the inmate will be considered to have “opted out,” and therefore
will be in non-earning status regardless of eligibility to earn FTCs.

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The only thing which will delay you accumulating programming days is not completing the self-
assessment surveys on TRULINCS or refusing to complete the Trauma or Dyslexia Need Assessments.
Those elements of the FSA Assessment which are completed by staff have no impact on your ability to
accumulate programming days. This means whether your Initial Classification is completed days after
your arrival or not until day 27, you will still begin accumulating programming days as soon as you
complete the four self-assessment surveys.

What if I’m back in prison and had FTCs I didn’t get to use before I released last time?

Credits can only be earned and used during your current term of incarceration. Once you are released
from your current term, time credits cease to exist. If you return to custody, you start over.

If I’m eligible to earn FTCs, do I earn FTCs the whole time I’m in prison?

Not necessarily. There are situations where an inmate is unable or unwilling to participate in
programming, and therefore, will not earn FTCs. Those situations include:

e Disciplinary Segregation
- e Designation outside the Institution (outside hospital, furlough, etc.) *
~ e Temporary Transfer to another Federal or a non-Federal agency (Fed Writ, State Writ, IAD,
etc.) *
-e Placement on a Mental Health/Psychiatric Hold
-e Detention as a materia! witness or for civil contempt
e Placement in civil commitment
-e@ Opting Out (see definition below)
e Refusal to participate in required programs (e.g. Inmate Financial Responsibility (FRP), Drug
Education, Second Chance RRC placement, etc.)

* Any part of a day, is considered a day. Therefore, if you are at your designated facility for some
portion of the day, you will still be given credit for that day. Remember, you have to accumulate 30
programming days to earn FTCs. This means, for example, if you are admitted to an outside hospital
on a Friday and return to the institution on Monday. You are losing two programming days (Saturday
and Sunday) — not Time Credits.

How many FTC days can I earn?

The number of FTCs earned is based on the length of your incarceration dnd your total number of
programming days) The statute limits the number of earned time credits to “an amount that is equal to
the remainder of the prisoner’s imposed term of imprisonment.” What does this mean? You can only
apply time credit up to the amount of time remaining to serve. If for example, you have earned 310
days of time credits toward early release and then receive a sentence reduction which creates a new
statutory release date which is only 9 months away (approximately 270 days), your FTCs will be
applied to the new date; you will be an immediate release,and the 40.days left over.will iust disappear

